Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 1 of 6 Page|D 1
F?!, .F`D

UNITED sTATEs DISTRICT CoURT
MIDDLE DISTRICT oF FLoRIR¢g L;, ,,\ _3 ,A _
TAMPA DIVISIoN " ‘“‘° P"‘l l ' 57

r '~'».

\,--\

     

~l_!‘;::_)el', »\ z_.,

ill‘,§.l§f"£f$'f `.'~"`1'.`5;.'»::€:3

LUIS M. Rol)RIGUEZ, f h ~.-J..‘,=z) k

/\

Plaintiff, CASE No. 3‘.\% w \°\L?» \>r °(’T
vs. JURY TRIAL DEMANDED

ALLIED INTERSTATE, LLc,

Defendant.
/

COMPLAINT
Plaintiff, Luis M. Rodriguez (“Plaintiff”), alleges the following Cornplaint against
Defendant, ALLIED INTERSTATE, LLC (“Defendant”):
l. This is an action for damages for violations of the Telephone Consumer Protection
Act, 47 U.S.C. §227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §§

559.55 el seq. (“FCCPA”) and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §

1692, et seq.
PARTIES
2. Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).
3. Defendant is a foreign company With its principal place of business in Minnesota.

The actions forming the basis of this Complaint took place at Plaintiffs’ horne location in this
district
4. Allied is a “person” subject to regulation under Fla. Stat. § 559.72 and is a debt

collector as defined under the FDCPA.

Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 2 of 6 Page|D 2

5. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(813-XXX-7135), and was the called party and recipient of Defendant’s autodialer calls.
JURISDICTION AND VENUE

6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA and FDCPA clairn, and should exercise supplemental jurisdiction over the state FCCPA v
claims pursuant to 28 U.S.C. § 1367(a), as such claims are so closely related so as to form part of
the same case or controversy.

7. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

8. Plaintiffs allegedly incurred a consumer debt in which Defendant was attempting to
collect (hereinafter “Subj ect Debt”).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA and
FDCPA, as it constitutes an obligation for the payment of money arising out of a transaction in
which the money and/or services which was the subject of the transaction was primarily for
Plaintiffs’ personal, family, or household purposes

10. In or around l\/lay, 2018, Plaintiff allegedly fell behind on her payment

11. In June, 2018, Defendant began autodialing PlaintifF s cell phone in an attempt to
collect the Subject Debt.

12. On multiple occasions, Plaintiff answered Defendant’s calls and informed Defendant
that he was on disability and was unable to make payment He then requested Defendant to stop

calling his cell phone.

Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 3 of 6 Page|D 3

13. Despite Plaintiff s requests, Defendant continued to autodial Plaintiff’s cell phone in
an attempt to collect the subject debt.

14. Defendant routinely used an automatic telephone dialing system (“ATDS”) to call
Plaintiff on his cellular phone, for which Plaintiff was charged, Without Plaintist prior express
consent, and after Plaintiff demanded that Defendants stop calling his cellular phone.

15. Defendant has a corporate policy to use an ATDS and has numerous other federal
lawsuits pending against them alleging similar violations and facts as stated in this complaint

16. Despite Plaintiff informing the Defendant for his reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt, the
Defendants continued its efforts to try and collect the Subject Debt from Plaintiff. As a result, the
Defendant’s subsequent attempts to persuade Plaintiff was made with the intent to simply exhaust
Plaintiff’ s will and harass Plaintiff.

17. The above-referenced conduct was a Willful attempt by Defendants to engage in
conduct which was reasonably expected to abuse or harass Plaintiff. Defendant’s conduct has
caused Plaintiff significant anxiety, emotional distress, frustration, and anger.

Q)_UML

VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.

18. Plaintiff incorporates by reference paragraphs 1 through 17 of this Complaint as
though fully stated herein.

19. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned

to a cellular telephone service ...” 47 U.S.C. § 227(b)(1)(A)(iii).

_3_

Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 4 of 6 Page|D 4

20. The Defendant placed non-emergency telephone calls to Plaintist cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiff’s consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

21. Plaintiff revoked any prior express consent Defendant had to call Plaintist cellular
telephone number. As such, the Defendant’s calls were Willful or knowing. See 47 U.S.C. §
3 12(f)(1).

22. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was hanned and is entitled to a minimum of $500 in damages for each violation.

23. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone - and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to ca11 Plaintiff’ s cellular
telephone Without prior express consent - Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such iiirther relief as this Court deems just and proper.

COUNT II

VIOLATIONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 et seq.

24. Plaintiff incorporates by reference paragraphs 1 through 17 of this Complaint as
though fully stated herein.

25. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:

a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any

member of her or his family With such frequency as can reasonably be

expected to harass the debtor or her or his family, or willfully engage in

other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.

_4_

Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 5 of 6 Page|D 5

26. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
damages, plus reasonable attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’
fees, costs, and such further relief as this Court deems just and proper.

L)LN_T_IL

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692 et seq.

27. Plaintiff incorporates by reference paragraphs 1 through 17 of this Complaint as
though fully stated herein.
28. The foregoing acts and omissions of Defendant constitute numerous and multiple
violations of the FDCPA including, but not limited to violations of 15 U.S.C. l692d and 1692d(5).
29. As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to damages
in an amount up to $1,000.00, actual damages, plus reasonable attomeys’ fees and costs.
WHEREFORE, Plaintiff demands judgment for damages, attomeys’ fees, costs, and such

further relief as this Court deems just and proper.

Case 8:18-cv-01922-EAK-CPT Document 1 Filed 08/03/18 Page 6 of 6 Page|D 6

DEMAND FOR JURY TRIAL

Plaintiffs demand a trial by jury on all issues so triable.

/s/ %/

J on P. Derbbeld, Esq.

Fla. Bar No. 105869
Jon@berkmyer.com
Berkowitz & Myer

4900 Central Ave

St. Petersburg, Florida 33707
(727) 344-0123Qoche)
Attornéysfor Pldinti]j{s

